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IN THE UNITED STATES DISTRICT COURT

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FOR THE WESTERN DISTRICT OF TENNESSEE USAUG“S PH'z;lh

WESTERN DIVISION

 

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MDGFWA§F
EDGAR JoHNsoN,

Plaintiff,
vs.

Civ. No. 03-2567-D[P

HOME TECH SERVICES CO., INC.,
et al.,

Defendants.

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ORDER GRANTING DEFENDANTS, HOME TECH SERVICES, INC.; MEMPHIS
FINANCIAL SERVICES, INC.; AND WORLD WIDE MORTGAGE CORP.’S MOTION
FOR PROTECTIVE ORDER

 

Before the court is defendants Home Tech Services, Inc.;

Memphis Financial Services, Inc.; and World Wide Mortgage Corp’s
Motion for Protective Order, filed on August 5, 2005. For good

cause shown and no opposition to, the motion is hereby GRANTED.
Defendants shall have up to sixty (60) days after plaintiff
provides expert disclosures to make their expert disclosures.

IT IS SO ORDERED.

United States Magistrate Judge

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Date

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This notice confirms a copy of the document docketed as number 249 in
case 2:03-CV-02567 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

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